Filed 8/26/24 P. v. Brown CA2/4



            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.



         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA


                                  SECOND APPELLATE DISTRICT


                                                DIVISION FOUR


 THE PEOPLE,                                                         B329893
           Plaintiff and Respondent,
           v.                                                        (Los Angeles County
                                                                     Super. Ct. No. PA031009)

 ANDRES MANNER BROWN,
           Defendant and Appellant.




     APPEAL from a judgment of the Superior Court of Los Angeles County,
Michael Terrell, Judge. Affirmed.
     Allen G. Weinberg, under appointment by the Court of Appeal, for
Defendant and Appellant.
     No appearance for Plaintiff and Respondent.
       Andres Brown appeals from an order denying his petition for
resentencing under Penal Code section 1172.6.1 His appellate counsel filed a
brief under People v. Delgadillo (2022) 14 Cal.5th 216 (Delgadillo), and
appellant filed a supplemental brief. We review the contentions appellant
raises in his supplemental brief and affirm the order.
             FACTUAL AND PROCEDURAL BACKGROUND
       The underlying facts are discussed in detail in this court’s prior
nonpublished opinion, People v. Brown (Mar. 20, 2001, B141167) (Brown I).
We briefly discuss them here to provide context for the trial court’s ruling.
We otherwise do not rely on this factual background in resolving the issues
presented in this appeal. (See § 1172.6, subd. (d)(3).)
       On December 18, 1997, appellant shot Keith Wilcher in the head
during an altercation; appellant’s gun went off while he was striking Wilcher
with it. Wilcher was comatose for eight months and ultimately died.
Appellant was arrested in April 1998 and admitted shooting Wilcher. (Brown
I, supra.)
       An information charged appellant with murder (§ 187, subd. (a)(1)) and
possession of a firearm by a felon (former § 12021, subd. (a)(1)). It further
alleged that appellant personally used a firearm during the commission of
the murder (§§ 1203.06, subd. (a)(1); 12022.5, subd. (a)(1)), and that he
previously suffered a strike conviction (§§ 667, subds. (b)-(i); 1170.12, subs.
(a)-(d)). Appellant pled not guilty and proceeded to jury trial.
       The jury found appellant guilty of second degree murder and possession
of a firearm by a felon. It also found true the personal use firearm
enhancement and prior conviction allegation. The trial court sentenced
appellant to 40 years to life. We affirmed appellant’s convictions on direct
appeal. (Brown I, supra.)




1
      All further statutory references are to the Penal Code unless otherwise
indicated.
                                       2
       In April 2019, appellant filed his first petition for resentencing under
former section 1170.95, now section 1172.6.2 The court summarily denied the
petition without appointing counsel for appellant or holding a hearing. The
court found that appellant was “not entitled to relief as a matter of law.
Petitioner was convicted of second degree murder. The court file, including
the opinion from the court of appeals [sic], reflects that petitioner was the
actual killer and was not convicted under a theory of felony-murder. To find
defendant guilty, the jury was required to conclude that the People proved
beyond a reasonable doubt that the killing resulted from an intentional act.
The jury also specifically found that defendant personally used a firearm in
the commission of the offense. Given those factual findings by the jury,
defendant is not entitled to relief as a matter of law.” On appeal, a different
panel of this court affirmed the denial of appellant’s petition. (People v.
Brown (May 11, 2020, B299047 [nonpub. opn.] (Brown II).)
       Appellant filed the instant petition for resentencing in June 2022. The
court appointed counsel for appellant. The People opposed the petition,
arguing that appellant was ineligible for relief as a matter of law because the
jury was not instructed on the theories of natural and probable consequences,
felony murder, aiding and abetting, or any theory of culpability that imputed
malice to appellant. Thus, the People asserted that appellant was
“prosecuted and convicted as the actual killer who committed this crime with
actual malice.” The People attached as exhibits the jury instructions from
the trial and the appellate opinions Brown I and Brown II. In his reply,
appellant argued that he had established a prima facie case, as the record of
conviction did not eliminate the possibility that the jury found him guilty of
murder under a theory of imputed malice.
       At the hearing on the petition, defense counsel submitted on the
papers. The superior court stated that it was considering “what was on the
record . . . from the trial.” The court found that appellant “was found guilty
by a jury of second-degree murder, and the jury also found that he personally



2
      Effective June 30, 2022, former section 1170.95 was renumbered to
section 1172.6, with no change in text. (Stats. 2022, ch. 58, § 10.)

                                       3
used a firearm in the commission of that offense. There was no allegation or
jury instruction on felony murder or anything else involving imputed malice.”
The court therefore denied the motion on the grounds that appellant failed to
demonstrate prima facie entitlement to relief under section 1172.6.
      Appellant timely appealed.
                                 DISCUSSION
      Appellant’s appointed attorney filed a brief raising no issues and
requesting that this court proceed pursuant to Delgadillo, supra, 14 Cal.5th
216. This court advised appellant of his right to file a supplemental brief (see
Delgadillo, supra, 14 Cal.5th at pp. 231-232), and appellant did so. We
evaluate the arguments set forth in that supplemental brief. (See id. at p.
232 [“If the defendant subsequently files a supplemental brief or letter, the
Court of Appeal is required to evaluate the specific arguments presented in
that brief and to issue a written opinion”].)
      Appellant argues that the jury instructions, together with the
prosecutor’s closing argument, allowed the jury to convict him of second
degree murder based on his “participation in the crime of exhibiting a
firearm,” rather than a finding that he harbored the requisite malice for
murder.3 We disagree. Neither the jury instructions alone, or in combination
with the closing arguments, allow for the possibility that appellant was
convicted under a theory of imputed malice. Specifically, the jury was
instructed on the elements of murder, including implied malice, but the court
did not instruct the jury on the natural and probable consequences doctrine
or any other theory in which malice could be imputed to appellant. Similarly,
the prosecution argued only that appellant was directly liable as the actual
shooter. The prosecution proceeded on the theory that appellant
intentionally shot the victim as revenge for a burglary he believed the victim
had committed the day before. During closing arguments, the prosecution


3
       We granted appellant’s unopposed request for judicial notice of Brown I
and the portion of the trial transcripts containing closing arguments. He
argues that the superior court should have considered the closing arguments
as part of the record of conviction. Neither side provided or cited the closing
arguments during briefing on the resentencing petition before the superior
court.
                                       4
also repeatedly reminded the jury that it needed to find express or implied
malice in order to convict appellant of murder. The prosecution did not
suggest, as appellant contends, that he could be guilty of murder because he
committed a different crime.
       Appellant’s citation to People v. Langi (2022) 73 Cal.App.5th 972 does
not assist him. There, the victim died from a blow to the head after being
beaten by a group of people. (Id. at p. 976.) The appellant argued that the
combination of jury instructions on aiding and abetting and second degree
murder created an ambiguity that allowed the jury to convict him of murder
without finding that he was the assailant who threw the fatal punch. (Id. at
p. 977.) The appellate court agreed, finding that the record of conviction did
not conclusively establish that appellant was convicted as the actual killer,
and that the jury could have found appellant guilty as an aider and abettor
without finding that he acted with malice. (Id. at pp. 980-983.) The court
thus remanded the case for an evidentiary hearing. (Id. at p. 984.) Here, by
contrast, it was undisputed that appellant fired the shot that killed the
victim. His defenses at trial were that his gun discharged accidentally and
that he hit the victim with the gun in self-defense. The jury rejected both of
those defenses. Thus, nothing in the record suggests appellant was charged
or convicted under any theory in which malice was imputed to him. For this
reason, the trial court was correct in concluding appellant was ineligible for
relief under section 1172.6 as a matter of law.
       Additionally, we have examined the record and are satisfied appointed
counsel fully complied with the responsibilities of appellate counsel and no
arguable issues exist. (See Delgadillo, supra, 14 Cal.5th at p. 232.)
Accordingly, to the extent appellant asserts his counsel rendered ineffective
assistance, we reject his argument and affirm the denial of his petition for
resentencing.




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                                 DISPOSITION
     The order denying the petition for resentencing is affirmed.
      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS


                        COLLINS, ACTING P. J.


We concur:




MORI, J.




ZUKIN, J.




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